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City of New York, State of New York, County of New York




I, Dan McCourt, hereby certify that the document “00053245-00053255” is, to the best of my
knowledge and belief, a true and accurate translation from Spanish into English.




_______________________
Dan McCourt



Sworn to before me this
June 29, 2023



_____________________
Signature, Notary Public




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Stamp, Notary Public




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